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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: XARELTO (RIVAROXABAN)                          :
PRODUCTS LIABILITY LITIGATION                         :     MDL No. 2592
                                                      :
                                                      :     SECTION L
THIS DOCUMENT RELATES TO:                             :
                                                      :
David Moore                                           :
Civil Action No. 2:16-cv-09234                        :     JUDGE ELDON E. FALLON
                                                      :
                                                      :     MAGISTRATE JUDGE NORTH
                                                      :

         DEFENDANTS’ JOINT REPLY TO PLAINTIFF’S RESPONSE
  TO ORDER TO SHOW CAUSE REGARDING PLAINTIFFS WHO HAVE FAILED
          TO COMPLY WITH CASE MANAGEMENT ORDER 12A

       Defendants Janssen Research & Development LLC, Janssen Pharmaceuticals, Inc., Janssen

Ortho LLC, Johnson & Johnson, Bayer HealthCare Pharmaceuticals Inc., and Bayer Pharma AG

(“Defendants”) submit this joint reply to Plaintiff’s response to order to show cause regarding

plaintiffs who have failed to comply with Case Management Order 12A in the above-referenced

case because counsel had temporarily lost contact with the Plaintiff. (Rec. Doc. 15789).

       The fact remains that the Plaintiff has not complied with the requirements of CMO 12A.

The appropriate remedy is dismissal with prejudice.

       While Defendants sympathize with Plaintiff’s personal situation, Plaintiff has admittedly

had the enrollment form since he filed his response more than two weeks ago. The Court needs to

know how many plaintiffs desire to continue to litigate rather than settle their claims in order to

chart the future course of this litigation. Continued delay without good cause interferes with the

Court’s ability to effectively manage the litigation and prejudices the Defendants and the

overwhelming number of Plaintiffs who have elected to settle.
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        Defendants also oppose Plaintiff’s request for additional time to comply with CMO 12A.

The plaintiffs in this litigation have already been given additional time to comply. Plaintiff has

had months to complete the enrollment forms or dismiss his case. Since Plaintiff re-established

contact with his counsel, he has had the enrollment form for more two weeks but has not submitted

it. Compliance with CMO 12A is relatively simple: an MDL plaintiff must either (a) sign a Notice

of Intent to Proceed if the plaintiff prefers to litigate his/her action rather than participate in the

settlement or was not eligible for the settlement; (b) sign an Enrollment Form evincing

participation in the settlement; or (c) authorize his/her counsel to dismiss the action with prejudice

if the plaintiff chooses neither to litigate nor to participate in the settlement.

        Under Case Management Order No. 12B, Plaintiff has “abandoned [his] claims” by failing

to comply with CMO 12A. CMO 12A provides that “[f]ailure to comply with the terms of this

Order will subject the Plaintiff’s case to dismissal with prejudice pending an Order to Show Cause

Hearing.” Defendants respectfully ask that Plaintiff’s request to be excused or for additional time

be denied. Plaintiff’s case should be dismissed with prejudice for failure to comply with CMO

12A.

        Respectfully submitted this the 4th day of October, 2019.

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                                                        Johnson & Johnson
                                                        Dated: October 4, 2019


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                                CERTIFICATE OF SERVICE
        The undersigned hereby certifies that on October 4, 2019, the foregoing pleading was filed
electronically with the Clerk of the Court using the CM/ECF system. Notice of this filing will be
sent to Liaison Counsel for Plaintiffs and Defendants by operation of the Court’s electronic filing
system and served on all other plaintiff counsel via MDL Centrality, which will send notice of
electronic filing in accordance with the procedures established in MDL 2592 pursuant to Pre-Trial
Order No. 17.

                                                      /s/ John F. Olinde




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